ORIGINAL

                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                                                                                 ^
                            ATLANTA DIVISION


    UNITED STATES OF AMERICA

           V.                                  Superseding Indictment

    TODD CHRISLEY                              No.

     A/K/A MICHAEL TODD
    CHRISLEY,
    JULIE CHRISLEY/ AND
    PETER TARANTINO


 THE GRAND JURY CHARGES THAT:


                                     Background

    At times relevant to this Superseding Indictment:

 The Defendants

    1. TODD CHRISLEY (a/k/a "MICHAEL TODD CHRISLEY//) and JULIE

 CHRISLEY were a married couple who, at one point, resided in the state of

 Georgia, and at a later point/ in the state of Tennessee.

    2. PETER TARANTINO was a Certified Public Accountant and owner of

 CPA Tarantino/ an accounting firm based in Roswell, Georgia. Beginning at least

 as early as 2015, TODD and JULIE CHRISLEY engaged the services of

 TARANTINO to work as their accountant. TODD and JULIE CHRISLEY also

 authorized TARANTINO to act as their "power of attorney/7 meaning he was

 authorized to discuss their taxes with the Internal Revenue Service ( IRS//).
The Chrisley Business Entities
   3. From at least as early as 2008 through approximately 2012, TODD and

JULIE CHRISLEY, together with an individual known to the Grand Jury
(hereinafter "Co-conspirator A"), controlled a Georgia company named
"Chrisley Asset Management," which earned millions of dollars in commissions
and fees from managing foreclosed properties that were later sold to third

parties. TODD and JULIE CHRISLEY also owned a number of other companies,
including "Chrisley and Company," which was a Georgia company that they

used to receive their income from Chrisley Asset Management.
   4. Beginning in 2013, TODD and JULIE CHRISLEY controlled a company
named "7C' s Productions." In July 2013, 7C' s Productions was registered with

the Georgia Secretary of State as a Georgia corporation. JULIE CHRISLEY was
later listed as the company's Chief Executive Officer. In 2016, 7C' s Productions
was registered with the Tennessee Secretary of State as a Tennessee corporation,
and "E.F.C." was listed as the company's registered agent.
   5. Beginning in approximately 2014, TODD and JULIE CHRISLEY, together
with various family members, starred in the reality television show Chrisley
Knows Best and appeared on other television and radio programs. A television
production company (hereinafter "the Production Company") produced Chrisley
Knows Best and paid the Chrisleys and other family members for their work on
the show. TODD and JULIE CHRISLEY used 7C's Productions as a "loan-out

company," which was a common way for actors and entertainers to be paid for
their services. Over the years, various entertainment and production companies

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paid millions of dollars to TODD and JULIE CHRISLEY, the vast majority of
which was deposited into 7C' s Productions bank accounts.
The Internal Revenue Service and Federal Taxes

   6. The IRS was an agency of the United States Department of Treasury

responsible for administering and enforcing the tax laws of the United States and

collecting taxes owed to the Treasury of the United States.
   7. Taxpayers who owed money to the IRS were generally required to submit
tax payments on or before the date their tax return was due.
   8. Married couples typically filed tax returns under the status of "married
filing jointly," "married filing separately," or "head of household." When
married taxpayers elected to file a tax return as "married filing separately," one

spouse was listed as the filer (hereinafter, the filing spouse) while the other
spouse was listed as the spouse (hereinafter, the listed spouse).
   9. The IRS had numerous enforcement mechanisms to collect delinquent
taxes, including filing liens on real property held within a particular county and
levying bank accounts or other assets. When issuing a lien or levy against a
delinquent taxpayer who filed "married filing separately," the lien or levy
attached only to property owned by the filing spouse. The IRS could not issue a

lien or levy against property owned only by the listed spouse unless it could
prove the property was actually owned by the filing spouse.
Todd and Julie Chrisley's Federal Tax Filings

   10. In 2010, TODD and JULIE CHRISLEY filed separate 2009 federal income
tax returns as "married filing separately." TODD CHRISLEY's 2009 federal

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income tax return was filed on or about October 15, 2010 with TODD CHRISLEY
as the filing spouse and JULIE CHRISLEY as the listed spouse. TODD
CHRISLEY reported a tax due and owing of $701,249. On or about May 29, 2012,
TODD CHRISLEY caused to be filed an amended 2009 federal income tax return,

still as "married filing separately," reporting a tax due and owing of more than
$400,000.
   11. TODD and JULIE CHRISLEY filed their 2010, 2011, and 2012 federal tax
returns as "married filing jointly" on or about May 6, 2011, October 15, 2012, and
December 16, 2013, respectively. These tax returns reported taxes due and owing
of $0, $50,073, and $23,959 for the 2010, 2011, and 2012 tax years, respectively.
   12. TODD and JULIE CHRISLEY did not timely submit tax payments to the
IRS when filing TODD CHRISLEY's 2009 tax return or their joint 2011 and 2012
tax returns.
   13. At a certain point, the IRS placed TODD and JULIE CHRISLEY in
collection status for unpaid federal income taxes. These collection actions were
stayed from the time that TODD CHRISLEY entered bankruptcy proceedings in
2012 until the bankruptcy action was discharged in 2015. Afterwards, IRS
Revenue Officers filed liens or levies in counties in which TODD and JULIE
CHRISLEY lived or owned property in attempts to collect the back taxes owed.
   14. TODD and JULIE CHRISLEY did not timely file federal income tax returns
or timely submit tax payments to the IRS for the 2013, 2014, 2015, or 2016 tax
years.



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                                      Count One
                            Conspiracy to Commit Bank Fraud
                                   (18 U.S.C. § 1349)
   15. The Grand Jury re-alleges and incorporates by reference the factual

allegations contained in paragraphs 1 through 14 of this Superseding Indictment

as if fully set forth herein.
   16. Beginning at least as early as 2007 and continuing until in or about 2012,
the exact dates unknown, in the Northern District of Georgia and elsewhere, the
defendants, TODD CHRISLEY and JULIE CHRISLEY, did knowingly and
willfully combine, conspire, confederate, agree, and have a tacit understanding

with each other and Co-conspirator A, to execute a scheme and artifice to

defraud multiple financial institutions, the deposits of which were insured by the
Federal Deposit Insurance Corporation, and to obtain money, funds, and credits
owned by and under the custody and control of the aforementioned financial
institutions by means of materially false and fraudulent pretenses,
representations, and promises and by omission of material facts, in violation of
Title 18, United States Code, Section 1344.
                                 Manner and Means

   17. TODD and JULIE CHRISLEY, together with Co-conspirator A
(collectively, "the conspirators"), conspired to submit false materials, such as
fabricated bank statements and false personal financial statements, to financial
institutions to obtain millions of dollars in loans, much of which they used for

their own personal benefit.




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   18. Throughout the conspiracy, the conspirators submitted false documents to
banks when applying for loans, including fabricated bank statements listing
inflated account balances, personal financial statements containing false

information about available funds, false invoices, and false audit paperwork. For

example, on or about November 5, 2007, Co-conspirator A sent an email to a

bank that copied TODD CHRISLEY attaching a personal financial statement that

falsely claimed TODD CHRISLEY had $4,000,000 at Merrill Lynch. When the
bank employee requested account statements, Co-conspirator A sent TODD
CHRISLEY a fabricated bank statement showing that TODD and JULIE
CHRISLEY had $776,509.52 on deposit at Merrill Lynch. In response, TODD
CHRISLEY told Co-conspirator A, "you are a fucking genious [sic]!!!! Just make it

show 4 mil+." In actuality, TODD and JULIE CHRISLEY did not have a Merrill
Lynch bank account at that time, and, after they later opened one in 2008, they
never had more than approximately $17,000 on deposit there. As a result of false
representations like these, a number of banks issued the conspirators millions of
dollars in loans, much of which TODD and JULIE CHRISLEY used for their own
personal benefit.

   19. At various points during the conspiracy, TODD CHRISLEY personally

directed Co-conspirator A to send false information to banks. For example,
when one bank provided notice in April 2008 that it would not be able to renew a
loan without updated financial information, TODD CHRISLEY instructed Co-
conspirator A, "please get her the financials and I will get her the rest." After

Co-conspirator A responded, "I don't have financials on any of these. She has

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tax returns," TODD CHRISLEY wrote, "stop telling me this shit, create them like

you always have, if I don't get these then they want [sic] renew the loans."
When another bank provided notice in 2008 that it needed updated financial
information, Co-conspirator A told TODD CHRISLEY that he/ she needed
assistance in putting the requested financials together. This prompted TODD
CHRISLEY to write, "giving me an excuse as to why you can not [sic] figure this
out does not move it off of your plate, this is not what we discussed, passing it
back and forth is not getting the results requested, if you do not know how to do
this then find a crooked accountant to do it. Ask [redacted] who her guy uses for
his crooked shit."

   20. The conspirators continued sending false information to banks even after
receiving the initial loan disbursements. At times, they did so in hopes of
renewing certain loans. At other times, they did so to conceal their financial
difficulties and to prevent the banks from seeking legal remedies to recoup the
outstanding loan balances. For example, on August 27, 2009, a bank
representative notified TODD CHRISLEY and Co-conspirator A that "[t]he last
personal financial statement we have in file (June 09) looks a lot like the
12/31/08 statement we received. (cash, securities and real estate all exactly the
same) . . .. We have a review coming up and would like to show this accurately
so that no one asks questions as to how these could all be exactly the same 7

months later." TODD CHRISLEY forwarded this message to Co-conspirator A

and stated, "bring the securities down significantly." The bank representative
further notified TODD CHRISLEY and Co-conspirator A that "[w]e have a FDIC

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examination beginning on Monday, Sept. 14 and your file will be one they will

review. Any assistance that you can provide here to update your statement

would be appreciated." TODD CHRISLEY forwarded this message to Co-

conspirator A and stated, "this is why that pfs [personal financial statement]

needs to reflect what you sent reigions [sic] and the FDIC." Similarly, when

attempting to provide evidence of available funds in April 2012 to a lender,

JULIE CHRISLEY forwarded a copy of a check to Co-conspirator A and TODD

CHRISLEY and instructed Co-conspirator A that the "[p]ost date is the only

thing that needs to be changed." The attached check stated that it had posted to

a bank account on February 8, 2012. TODD CHRISLEY then .instructed Co-

conspirator A to "make sure this is perfect before you send it to [REDACTED] as

there cant be a screw up and she looks at this stuff fairly close." Shortly

thereafter, Co-conspirator A emailed TODD CHRISLEY an altered copy of the
same check falsely showing that it had posted to the bank account on November

1, 2011.

   21. The conspirators also used Chrisley Asset Management funds to pay down
outstanding bank loans or for their own personal benefit. The conspirators did

so despite knowing that the company often had outstanding checks or debts that

would not otherwise be covered by the remaining balances in its bank accounts.

As a result, Chrisley Asset Management began to have significant financial

difficulties.

   22. Once it became clear that Chrisley Asset Management was insolvent and

the conspirators could no longer. pay back the outstanding loans or obtain new

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loans, TODD and JULIE CHRISLEY sought to hide their involvement in the
conspiracy by falsely claiming that they did not know that Co-conspirator A had
submitted false documents to financial institutions. For instance, in an August
14, 2012 sworn affidavit, TODD CHRISLEY falsely asserted that Co-conspirator
A had used their accountant's stationary and signature without the knowledge
or consenf of TODD CHRISLEY or the accountant. However, approximately
three months earlier, TODD CHRISLEY emailed Co-conspirator A, asking,
"[C]an you place this on [the accountant's] letterhead with his signature and then

sign Julie's name below [the accountant's]? address the letter to whom it may
concern." Shortly thereafter, Co-conspirator A sent an email to a lender that
copied TODD CHRISLEY attaching letters purportedly signed by the accountant
and JULIE CHRISLEY.
   All in violation of Title 18, United States Code, Section 1349.

                                Counts Two through Six
                                        Bank Fraud
                                (18 U.S.C. § 1344 and§ 2)
   23. The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 22 of this Superseding Indictment
as if fully set forth herein.

   24. Beginning at least as early as 2007 and continuing until in or about 2012,
the exact dates unknown, in the Northern District of Georgia and elsewhere, the

defendants, TODD CHRISLEY and JULIE CHRISLEY, aided and abetted by each
other and Co-conspirator A, did knowingly execute and attempt to execute a
scheme and artifice to defraud the below-listed financial institutions, the deposits
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of which were each then insured by the Federal Deposit Insurance Corporation,
and to obtain, by means of materially false and fraudulent pretenses,
representations, and promises, and by omission of material facts, certain moneys,

funds, credits, assets, securities, and other property owned by and under the

custody and control of the below-listed financial institutions.

                      Executions of the Bank Fraud Scheme ,
   25. On or about the dates set forth below, in the Northern District of Georgia
and elsewhere, the defendants, TODD CHRISLEY and JULIE CHRISLEY, aided
and abetted by each other and Co-conspirator A, did knowingly execute and
attempt to execute the above-described scheme to defraud as follows:


   Count        Date (on or           Execution and Attempted Execution
                  about)
  Count2       June 12, 2009     Causing a false personal financial statement to
                                        be transmitted to Midtown Bank
  Count3        July 6, 2009     Causing a false personal financial statement to
                                   be transmitted to GulfSouth Private Bank
  Count4        July 6, 2009     Causing a false personal financial statement to
                                  be transmitted to United Community Bank
  Counts      October 8, 2009         Causing false audit paperwork to be
                                         transmitted to RBC Bank USA
  Count6     August 18, 2010     Causing a false personal financial statement to
                                         be transmitted to Wells Fargo
      All in violation of Title 18, United States Code, Section 1344 and Section 2.




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                                   Count Seven
                                     Wire Fraud
                                 (18 U.S.C. § 1343)
   26. The Grand Jury re-alleges and incorporates by reference the factual

allegations contained in paragraphs 1 through 25 of this Superseding Indictment

as if fully set forth herein.

   27. Beginning in or about July 2014 and continuing until in or about October

2014, the exact dates unknown, in the Northern District of Georgia and

elsewhere, the defendant, JULIE CHRISLEY, knowingly devised and intended to

devise a scheme and artifice to defraud, and to obtain money and property by

means of materially false and fraudulent pretenses, representations, and

promises, and by omission of material facts, well knowing and having reason to

know that said pretenses, representations, and promises were false and

fraudulent when made and caused to be made and that said omissions were and

would be material.

                                Scheme to Defraud

   28. Even after terminating the relationship with Co-conspirator A in 2012,
JULIE CHRISLEY continued to transmit fabricated bank statements and other
false documents to third parties. During a lease application process for a home

in California, the property owner required JULIE CHRISLEY to provide a credit
report and bank statements showing that TODD and JULIE CHRISLEY had at

least $486,000 in their accounts. When applying to rent the home in July 2014,
JULIE CHRISLEY transmitted multiple fabricated financial documents to the
homeowner' s real tor.
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   29. On or about July 23, 2014, JULIE CHRISLEY sent an email to the realtor

attaching a City National Bank account statement reporting a June 30, 2014,
account balance of $86,790.86. In reality, the City National Bank account had a

balance of negative $14,530.89 in June 2014.
   30.JULIE CHRISLEY's email sent on or about July 23, 2014 also included a

hyperlink to a Google Drive file containing a false Equifax credit report in JULIE
CHRISLEY' s name. This false credit report stated that JULIE CHRISLEY' s credit
scores were as follows: 767 (Equifax), 770 (Experian), and 817 (TransUnion). In
reality, JULIE CHRISLEY's credit scores during that approximate timeframe
were not that high.

   31. On or about July 26, 2014, JULIE CHRISLEY sent a copy of a BB&T account
statement reporting a July 23, 2014 account balance of $409,738.85. In reality, this
BB&T account had a balance of $0 as of June 20, 2014 and was closed shortly
thereafter.
   32. After submitting these false documents through her realtor to the property
owner's listing agent, JULIE CHRISLEY obtained a lease for the California home,
which the CHRISLEY family began using in mid-2014. TODD and JULIE
CHRISLEY then refused to pay the October 2014 rent, causing the property
owner to have to threaten them with eviction.
                      Execution of the Wire Fraud Scheme

   33. On or about July 23, 2014, in the Northern District of Georgia and

elsewhere, the defendant, JULIE CHRISLEY, for the purpose of executing and
attempting to execute the aforesaid scheme and artifice to defraud, and to obtain

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money and property by means of materially false and fraudulent pretenses and
representations, did, with intent to defraud, cause to be transmitted by means of

a wire communication in interstate and foreign commerce certain writings, signs,

signals, and sounds, namely, an email attaching a fabricated bank statement and
a hyperlink to a Google Drive document containing a fabricated credit report.
   All in violation of Title 18, United States Code, Section 1343.

                                     Count Eight
                         Conspiracy to Defraud the United States
                                    (18 U.S.C. § 371)
   34. The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 33 of this Superseding Indictment
as if fully set forth herein.

   35. Beginning in or about 2010, and continuing until on or about February 2,
2018, the exact dates unknown, in the Northern District of Georgia and
elsewhere, the defendants, TODD CHRISLEY, JULIE CHRISLEY, and PETER
TARANTINO (collectively, "the Defendants"), did willfully, unlawfully,

voluntarily, intentionally, and knowingly combine, conspire, confederate, agree,
and have a tacit understanding with each other to defraud the United States for
the purpose of impeding, impairing, obstructing, and defeating the lawful
governmental functions of the IRS of the United States Department of Treasury
in the ascertainment, computation, assessment, and collection of revenue, that is,
income taxes.




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                                Manner and Means
   36. The Defendants carried out the conspiracy to defraud the IRS through the
following manner and means, among others.

The Defendants' Use of 7C's Productions to Hide Todd Chrisley's Income from
the IRS
   37. The Defendants, knowing that TODD CHRISLEY owed hundreds of
thousands of dollars to the IRS for the 2009 tax year, sought to hide his income
from the IRS by directing third parties to send millions of dollars to
7C' s Productions. Even though TODD CHRISLEY exercised control over
7C' s Productions and had access to its bank accounts throughout the conspiracy,
his name was never listed as an owner on documents filed with the Georgia or

Tennessee Secretaries of State, and he was never a signatory on the company's
bank accounts. Instead, JULIE CHRISLEY - who, as the listed spouse on TODD
CHRISLEY' s original and amended 2009 tax return, did not owe the IRS money
for that tax return - was listed on 7C' s Productions corporate documents and had
signature authority over its bank accounts. The Defendants knew that TODD
CHRISLEY also controlled·7C's Productions throughout the conspiracy period.
In fact, TODD CHRISLEY had created a website named http:/ /toddchrisley.org
that included an article titled "Todd Chrisley Starts Film Production Company -
7CsProduction." The Defendants purposefully kept TODD CHRISLEY' s name

off of 7C' s Productions bank accounts and corporate filings to impede the IRS' s

ability to determine his income and collect his unpaid 2009 taxes.




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The Defendants' Efforts to Impede the IRS's Ability to Determine Their Income
   38. To further the conspiracy's objectives, the Defendants also sought to evade

payment of their taxes by hiding their income from the IRS and impeding the

IRS' s collection efforts. For instance, TODD and JULIE CHRISLEY removed
JULIE CHRISLEY' s name from a 7C' s Productions bank account in order to hide
their income from IRS collection officials. On March 6, 2017, TARANTINO
notified TODD and JULIE CHRISLEY that an IRS Revenue Officer had requested
copies of bank statements for accounts over which TODD and JULIE CHRISLEY
had signature authority. In response to this request, the Defendants sent the IRS

Revenue Officer a number of bank statements, including those for 7C' s
Productions.
   39. On March 7, 2017 - the day after first learning of the IRS Revenue Officer's
request-TODD and JULIE CHRISLEY caused E.F.C. to open a new 7C's
Productions bank account at Bank of America with E.F.C. listed as the sole
individual with signature authority. JULIE CHRISLEY emailed a Bank of
America representative a document entitled, "Board of Directors and
Shareholders Resolution Adopting Amendment to Article of Incorporation for
7C' s Productions." This document falsely reported that the 7C' s Productions

"Board of Directors" had modified the company's Articles of Incorporation to
state that E.F.C. owned 100% of the company's stock and would serve as the

company president. TODD and JULIE CHRISLEY then directed the

entertainment and production companies to deposit future earnings into the new
bank account.

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   40. TODD and JULIE CHRISLEY then and there knew that E.F.C. was not the
president or owner of 7C's Productions. In fact, on March 6, 2017, when having
to show sufficient available funds during a loan application process, TODD and
JULIE CHRISLEY told a mortgage broker that JULIE CHRISLEY - and not E.F.C.
- was the true owner of 7C' s Productions. In keeping JULIE CHRISLEY' s name

off of the newly created 7C' s Productions bank account, TODD and JULIE
CHRISLEY sought to hide future income from the IRS.

The Defendants' Knowledge of Taxpayers' Obligations to File Tax Returns and
Pay Taxes
   41. The Defendants continued to take part in this conspiracy even after
acknowledging that they were required to file tax returns and pay taxes due and
owing. For instance, during a February 2017 interview, TODD CHRISLEY
asserted, "Obviously the federal government likes my tax returns because I pay
750,000 to 1 million dollars just about every year, so the federal government
doesn't have a problem with my taxes." In fact, when making those public
statements, TODD CHRISLEY knew that he owed hundreds of thousands of
dollars to the IRS for the 2009 tax year and had not filed federal income tax
returns - or paid any federal income taxes - for the previous several tax years.
   42. The Defendants also continued to take part in this conspiracy even after

receiving repeated notices that they were required to file tax returns and pay
taxes due and owing. In March 2017, the IRS sent correspondence to the

Defendants about taxpayers' income tax obligations, including a pamphlet
entitled, "Why Do I Have to Pay Taxes?", which stated, in part, "While taxpayers


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have the right to contest their liabilities in the courts, taxpayers do not have the
right to violate and disobey tax laws. Unscrupulous individuals and promoters
advocating willful noncompliance with the tax laws have used a variety of false
or misleading arguments for not filing and paying taxes." However, the
Defendants then failed to timely file TODD and JULIE CHRISLEY' s 2016 tax

return or timely pay TODD and JULIE CHRISLEY' s 2016 taxes when required to

do so in April 2017.
Tarantino's Efforts to Impede IRS Revenue Officers
   43. Throughout the conspiracy, TARANTINO provided false and misleading
information to IRS Revenue Officers who were assigned to collect TODD and
JULIE CHRISLEY' s back taxes. TARANTINO falsely told Revenue Officers that

TODD and JULIE CHRISLEY could not afford to pay their back taxes and that he
did not know certain information about them, such as where they banked or
lived. In one instance, TARANTINO falsely told a Revenue Officer that TODD
and JULIE CHRISLEY' s daughter was the owner of 7C' s Productions and that
she paid TODD and JULIE CHRISLEY their salaries. In providing this false and
misleading information to Revenue Officers, TARANTINO sought to impede the
IRS' s efforts to collect TODD and JULIE CHRISLEY' s unpaid taxes.
TARANTINO frequently updated TODD and JULIE CHRISLEY on his
interactions with the IRS Revenue Officers. For instance, on September 23, 2016,
TARANTINO told TODD and JULIE CHRISLEY, "The agent also asked some

questions about your current living arrangements, etc. I avoided answering
them."

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           44. TARANTINO also helped TODD and JULIE CHRISLEY avoid IRS scrutiny
        by willfully filing false and fraudulent 7C' s Productions corporate tax returns
        that made it appear that the company was not making money. On or about
        September 15, 2016, TARANTINO electronically filed a 7C's Productions

        corporate tax return for tax year 2015 omitting all information about 7C' s

        Productions' revenue and distributions. A year later, on or about September 15,
        2017, TARANTINO electronically filed a 7C' s Productions corporate tax return
        for tax year 2016 omitting the same information. In doing so, TARANTINO
        sought to lead the IRS to believe that 7C' s Productions did not earn any revenue
        during those tax years.

           45. To further the conspiracy, on or about February 2, 2018, TARANTINO
        knowingly lied to federal agents employed by the Federal Bureau of
        Investigation and the IRS - Criminal Investigation Division, in that
        TARANTINO falsely stated that he did not know how TODD CHRISLEY earned
        his money. These statements and representations were false because
        TARANTINO then and there knew that TODD CHRISLEY received income
        through 7C' s Productions.

        False Statements to Third Parties Regarding Todd and Julie Chrisley's Tax
        Filings
           46. Throughout the conspiracy, the Defendants falsely claimed to third parties
        that TODD and JULIE CHRISLEY had filed their federal tax returns. For

        example, in March 2015, JULIE CHRISLEY sent individual income tax returns for

        the 2013 and 2014 tax years to a bank during a loan application process. The


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2013 tax return claimed that JULIE CHRISLEY earned $217,693 in income and

owed $59,277 in taxes. The 2014 tax return claimed that JULIE CHRISLEY

earned $737,971 in income and owed $264,406 in taxes. However, JULIE
CHRISLEY then and there knew that neither return had been filed and that she

had not paid the taxes listed as due and owing.

   47. In early 2018, when trying to obtain a lease for a Bentley convertible and a

bank loan, TODD and JULIE CHRISLEY directed TARANTINO to send copies of
their individual income tax returns to a bank and an automobile dealership. On
or about January 18, 2018, TARANTINO sent TODD and JULIE CHRISLEY an
email with copies of their 2014, 2015, and 2016 individual and corporate income
tax returns and stated, in part, "these are the returns that will be forwarded to

Bentley and [a bank] tomorrow." The email stated that TODD and JULIE
CHRISLEY owed $192,371 in taxes for 2015 and $219,222 for 2016. TARANTINO
then emailed "file copies" of TODD and JULIE CHRISLEY' s 2015 and 2016
individual and corporate tax returns to the automobile dealership, stating, "I
have attached the last two years of business and personal tax filings as they
pertain to Michael (Todd) and Julie Chrisley." TARANTINO also emailed "file
copies" of TODD and JULIE CHRISLEY's 2014, 2015, and 2016 individual and
corporate income tax returns to the bank and stated, "I have attached the last
three years of personal and business tax filings." When causing these materials
to be transmitted, the Defendants then and there knew that the 2014, 2015, and

2016 federal income tax returns had not been filed and that TODD and JULIE

CHRISLEY had not paid the taxes listed as due and owing.

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Todd and Julie Chrisley's Expenditures During the Conspiracy

   48. Throughout the conspiracy, TODD and JULIE CHRISLEY made large
personal expenditures while knowing they had significant tax liabilities and
while claiming to the IRS that they had financial difficulties preventing them
from paying those tax liabilities. For example, from June 2010 through December

2010, TODD and JULIE CHRISLEY transferred more than $800,000 from Chrisley
Asset Management into a Chrisley and Company bank account, much of which
they then used for their own personal benefit. However, TODD CHRISLEY
failed to timely pay any of the $701,249 he initially reported as due and owing
when filing his 2009 tax return in October 2010.

   49. TODD and JULIE CHRISLEY continued to earn substantial income and
make large expenditures after starting their television show. In the promotional
video for Chrisley Knows Best, which was filmed in 2013, TODD CHRISLEY
stated, "I make millions of dollars a year, but we still have the same issues that
parents who are making $40,000 a year have." TODD CHRISLEY further claimed
that "in a year, we probably spend over $300,000, sometimes more, just on
clothing." Over the next several years, TODD and JULIE CHRISLEY earned
millions of dollars from Chrisley Knows Best and other media ventures, which

they largely used for their own personal benefit, all while claiming they had
insufficient funds to pay down TODD CHRISLEY' s 2009 tax liability and while

failing to timely file federal tax returns or pay income taxes for the 2013, 2014,

2015, or 2016 tax years. For example, in June 2017 alone, the entertainment and
production companies wired over $300,000 into a 7C' s Productions bank account.

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That same month, TODD and JULIE CHRISLEY spent over $7,000 at an
electronics store, over $2,000 at a luxury retail store, and thousands of dollars at
department and clothing stores. However, three months earlier, in March 2017,
TARANTINO had told an IRS Revenue Officer that TODD CHRISLEY did not

have sufficient resources to pay his 2009 tax liability.
                                     Overt Acts

   50. In order to carry out the conspiracy and to accomplish the objects thereof,
the Defendants committed various overt acts in the Northern District of Georgia
and elsewhere, including, but not limited to, the following:

          a. On or about July 2, 2013, TODD and JULIE CHRISLEY caused
             7C' s Productions to be incorporated in the state of Georgia.
          b. On or about January 13, 2016, TODD and JULIE CHRISLEY caused
             7C' s Productions to be incorporated in the state of Tennessee, with
             E.F.C. listed on incorporation documents as the company owner.
         c. On or about September 15, 2016, TARANTINO electronically filed a
             2015 corporate tax return for 7C' s Productions omitting all
             information about 7C' s Productions' revenue and distributions.
          d. On or about March 7, 2017, TODD and JULIE CHRISLEY caused
             E.F.C. to open a 7C's Productions' bank account with E.F.C. listed as
             the company "President."

         e. On or about March 7, 2017, JULIE CHRISLEY emailed a bank

             representative a false document entitled, "Board of Directors and



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                      Shareholders Resolution Adopting Amendment to Article of
                      Incorporation for 7C' s Productions."
                  f. On or about September 15, 2017, TARANTINO electronically filed a
                      2016 corporate tax return for 7C' s Productions omitting all
                      information about 7C' s Productions' revenue and distributions.

           All in violation of Title 18, United States Code, Section 371.

                                              Count Nine
                                              Tax Evasion
                                  (26 U.S.C. § 7201 and 18 U.S.C. § 2)
           51. The Grand Jury re-alleges and incorporates by reference the factual
        allegations contained in paragraphs 1 through 50 of this Superseding Indictment
        as if fully set forth herein.
           52. On or about October 15, 2010, TODD CHRISLEY caused to be filed a 2009
        federal income tax return as "married filing separately," listing himself as the
        filing spouse and JULIE CHRISLEY as the listed spouse, and reporting a tax due
        and owing of $701,249. On or about May 29, 2012, TODD CHRISLEY caused to
        be filed an amended 2009 federal income tax return, still as "married filing
        separately," reporting a tax due and owing of more than $400,000.
           53. From in or about 2010 through on or about February 2, 2018, the exact

        dates unknown, in the Northern District of Georgia and elsewhere, the

        defendants, TODD CHRISLEY and JULIE CHRISLEY, aided and abetted by each
        other and another individual known to the Grand Jury, willfully attempted to

        evade and defeat the payment of income tax due and owing by TODD
        CHRISLEY to the United States of America for the 2009 tax year by committing

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the following affirmative acts, among others: (a) using a nominee business entity
to conceal income, (b) using nominee bank accounts to conceal income and pay
expenses, and (c) providing false information to IRS employees.
   All in violation of Title 26, United States Code, Section 7201 and Title 18,
United States Code, Section 2.

                                       CountTen
                          Aiding the Filing of False Tax Return
                                  (26 U.S.C. § 7206(2))
   54. The Grand Jury re-alleges and incorporates by reference the factual

allegations contained in paragraphs 1 through 53 of this Superseding Indictment
as if fully set forth herein.
   55. On or about September 15, 2016, within the Northern District of Georgia,
the defendant, PETER TARANTINO, did willfully aid and assist in, and procure,
counsel, and advise the preparation and presentation to the IRS, a document,
namely, a U.S. Corporate Tax Return, Form 1120S, for 7C's Productions. That
document was false and fraudulent as to material matters in that it omitted
revenue generated by 7C's Productions as well as distributions to its owners,
whereas TARANTINO then and there knew that 7C' s Productions had in fact
generated revenue and had made distributions to its owners during the 2015 tax

year.

   All in violation of Title 26, United States Code, Section 7206(2).




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                                             Count Eleven
                                  Aiding the Filing of False Tax Return
                                         (26 U.S.C. § 7206(2))
           56. The Grand Jury re-alleges and incorporates by reference the factual
        allegations contained in paragraphs 1 through 55 of this Superseding Indictment
        as if fully set forth herein.
           57. On or about September 15, 2017, within the Northern District of Georgia,
        the defendant, PETER TARANTINO, did willfully aid and assist in, and procure,
        counsel, and advise the preparation and presentation to the IRS, a document,
        namely, a U.S. Corporate Tax Return, Form 1120S, for 7C's Productions. That
        document was false and fraudulent as to material matters in that it omitted
        revenue generated by 7C' s Productions as well as distributions to its owners,
        whereas TARANTINO then and there knew that 7C' s Productions had in fact
        generated revenue and had made distributions to its owners during the 2016 tax
        year.
                All in violation of Title 26, United States Code, Section 7206(2).

                                            Count Twelve
                                          Obstruction of Justice
                                        (18 U.S.C. § 1512(c)(2))
           58. The Grand Jury re-alleges and incorporates by reference the factual
        allegations contained in paragraphs 1 through 57 of this Superseding Indictment
        as if fully set forth herein.

           59. From in or about February 2018 through in or about June 2019, within the
        Northern District of Georgia, the defendant, JULIE CHRISLEY, did corruptly
        obstruct, influence, and impede, and did corruptly attempt to obstruct, influence,

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and impede, an official proceeding, namely a federal Grand Jury investigation in
the Northern District of Georgia.
   60. On or about February 1, 2018, federal agents served a federal Grand Jury
subpoena from the Northern District of Georgia upon 7C's Productions. That
subpoena required 7C' s Productions to produce "all records, books of account,

and other documents or papers relative to financial transactions" of TODD

CHRISLEY, JULIE CHRISLEY, and E.F.C. That subpoena also required the
production of" all contracts and agreements" between 7C' s Productions and
TODD CHRISLEY, JULIE CHRISLEY, and E.F.C as well as "all communications"
including" emails and other forms of communication" with TODD CHRISLEY,

JULIE CHRISLEY, and E.F.C.
   61. In or about March 2018, JULIE CHRISLEY, acting on behalf of 7C's
Productions, caused the submission of a number of financial records, contracts,
and emails to the Grand Jury. This production included various emails to and
from TODD CHRISLEY and JULIE CHRISLEY' s email accounts.
   62. On or about June 7, 2019, JULIE CHRISLEY, acting on behalf of 7C' s
Productions, submitted supplemental materials to the Grand Jury in response to
the subpoena, including a fraudulent, backdated document. JULIE CHRISLEY's

supplemental submission was accompanied by a certification that she signed

under penalty of perjury stating that the supplemental materials had been made
and were kept in the ordinary course of business. The fraudulent, backdated
document that she submitted with the materials was the 7C's Productions

corporation resolution identified in paragraphs 38 and 39 but that contained

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handwritten changes. Specifically, this version crossed out the statement that

E.F.C. was the 100% owner of 7C's Productions and contained a handwritten

note claiming that JULIE CHRISLEY was the 100% owner of 7C' s Productions.

This version also contained the signatures of both JULIE CHRISLEY and E.F.C.

and was hand-dated March 8, 2017. An attorney for 7C' s Productions later

represented to the Government in an email the following:

      [T]he resolution accompanying my           letter   of June   7,   2019,

      supplementing 7C' s Productions, Inc.' s response to the grand jury

      subpoena, is the second or replacement resolution given to the Bank

      of America in March 2017. By way of further explanation, a resolution

      was given to the bank on March 7 via the email contained in my June

      7, 2019 letter. On March 8, 2017, [E.F.C.] made changes to the

      resolution and brought it to the bank by hand. That "second"

      resolution was first produced to you in my June 7, 2019 letter. It was

      not attached to the original email from Julie to the bank. The bank

      should have the first resolution as well as the second.

   63. In truth, JULIE CHRISLEY knew that in March 2017, she had falsely told

Bank of America that E.F.C. owned 7C's Productions by submitting the "first"

corporate resolution to Bank of America via email. JULIE CHRISLEY also knew

that E.F.C. had not brought the later hand-edited resolution to Bank of America,

as her attorney represented to the Government. As JULIE CHRISLEY was well

aware, the "second" corporate resolution was never given to Bank of America. In

reality, JULIE CHRISLEY made handwritten changes and backdated the 7C' s

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Productions corporate resolution in an effort to obstruct the Grand Jury's

investigation of her criminal conduct.
   All in violation of Title 18, United States Code, Section 1512(c)(2).

                                     Forfeiture
   64. The Grand Jury re-alleges and incorporates by reference the factual

allegations contained in paragraphs 1 through 63 of this Superseding Indictment
as if fully set forth herein.
   65. Upon conviction for one or more of the offenses alleged in Counts 1
through 6 of this Superseding Indictment, the defendants, TODD CHRISLEY and
JULIE CHRISLEY, shall forfeit to the United States, pursuant to Title 18, United
States Code, Section 982(a)(2), any property constituting or derived from
proceeds obtained directly or indirectly as a result of said violations.

   66. Upon conviction for the offense alleged in Count 7 of this Superseding
Indictment, the defendant, JULIE CHRISLEY, shall forfeit to the United States,
pursuant to Title 18, United States Code, Section 981(a)(l)(C) and Title 28, United
States Code, Section 2461(c), any property, real or personal, constituting or
derived from proceeds obtained directly or indirectly as a result of said

violations.

   67. If, as a result of any act or omission of TODD CHRISLEY or JULIE

CHRISLEY, any property subject to forfeiture:

   a. Cannot be located upon the exercise of due diligence;

   b. Has been transferred or sold to, or deposited with, a third person;

   c. Has been placed beyond the jurisdiction of the Court;
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   d. Has been substantially diminished in value; or

   e. Has been commingled with other property which cannot be subdivided

      without difficulty;

the United States intends, pursuant to Title 18, United States Code, Section

982(b), Title 21, United States Code, Section 853(p), and Title 28, United States

Code, Section 2461(c) to seek forfeiture of any property of said defendant up to

the value of the forfeitable property.




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